         Case:18-11266-SDB Doc#:8 Filed:09/09/18 Entered:09/10/18 00:53:01                                           Page:1 of 4
                                               United States Bankruptcy Court
                                               Southern District of Georgia
In re:                                                                                                     Case No. 18-11266-SDB
Alison Ward                                                                                                Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113J-1                  User: ccburke                      Page 1 of 1                          Date Rcvd: Sep 07, 2018
                                      Form ID: 309I                      Total Noticed: 13


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 09, 2018.
db             +Alison Ward,    2436 Bream Avenue,   Augusta, GA 30906-2311
7179701        +Dept of Ed/Navient,    PO Box 9500,    Wilkes Barre, Pennsylvania 18773-9500
7179703        +Jerald Jordan,    9600 Whitehall Blvd,    Sportsylvania, VA 22553-4049
7179704        +Simply Storage,    2134 Gordon Hwy,    Augusta, GA 30909-4473

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: mcelroymagruder@aol.com Sep 07 2018 18:41:56      Angela McElroy-Magruder,
                 Claeys, McElroy-Magruder & Kitchens,    512 Telfair Street,   Augusta, GA 30901
tr             +E-mail/Text: 341notices@chp13aug.org Sep 07 2018 18:42:12      Huon Le,    P.O. Box 2127,
                 Augusta, GA 30903-2127
ust            +E-mail/Text: ustpregion21.sv.ecf@usdoj.gov Sep 07 2018 18:42:20       Office of the U. S. Trustee,
                 Johnson Square Business Center,   2 East Bryan Street, Ste 725,     Savannah, GA 31401-2638
7179699        +EDI: CAPITALONE.COM Sep 07 2018 22:43:00      Capital One,   PO Box 30285,
                 SLC , Utah 84130-0285
7179700        +EDI: CMIGROUP.COM Sep 07 2018 22:43:00      Credit Management,   PO Box 118288,
                 Carrollton, Texas 75011-8288
7179702        +E-mail/Text: bknotice@ercbpo.com Sep 07 2018 18:42:35      Enhanced Recovery,    PO Box 57547,
                 Jacksonville, Florida 32241-7547
7179705         Fax: 912-629-1539 Sep 07 2018 19:01:02      Titlemax,   15 Bull Street, Ste 200,
                 Savannah, Georgia 31401
7179706        +Fax: 912-629-1539 Sep 07 2018 19:01:02      Titlemax,   3240 Peach Orchard Road,    Ste 10,
                 Augusta, GA 30906-5960
7179707        +EDI: WFFC.COM Sep 07 2018 22:43:00     Wells Fargo,    PO Box 14517,
                 Des Moines, Iowa 50306-3517
                                                                                              TOTAL: 9

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 09, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on September 7, 2018 at the address(es) listed below:
              Angela McElroy-Magruder     on behalf of Debtor Alison Ward mcelroymagruder@aol.com
              Huon Le    notices@chp13aug.org
              Office of the U. S. Trustee    Ustpregion21.sv.ecf@usdoj.gov
                                                                                            TOTAL: 3
     Case:18-11266-SDB Doc#:8 Filed:09/09/18 Entered:09/10/18 00:53:01                                                               Page:2 of 4
Information to identify the case:
Debtor 1                 Alison Ward                                                            Social Security number or ITIN    xxx−xx−1019

                         First Name   Middle Name   Last Name                                   EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                                        Social Security number or ITIN _ _ _ _
(Spouse, if filing)      First Name   Middle Name   Last Name
                                                                                                EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court        Southern District of Georgia
                                                                                                Date case filed for chapter 13 9/4/18
Case number:          18−11266−SDB



Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                   12/17


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                              About Debtor 1:                                               About Debtor 2:
1. Debtor's full name                         Alison Ward

2. All other names used in the
   last 8 years
                                              2436 Bream Avenue
3. Address                                    Augusta, GA 30906
                                              Angela McElroy−Magruder                                       Contact phone 706−724−6000
4. Debtor's  attorney
   Name and address
                                              Claeys, McElroy−Magruder & Kitchens
                                              512 Telfair Street                                            Email: mcelroymagruder@aol.com
                                              Augusta, GA 30901

5. Bankruptcy trustee                         Huon Le                                                       Contact phone 706−724−1039
     Name and address                         P.O. Box 2127
                                              Augusta, GA 30903

6. Bankruptcy clerk's office                                                                              Hours open Mon−Fri 8:30AM−5:00PM
     Documents in this case may be filed      Federal Justice Center
     at this address.                         600 James Brown Blvd
     You may inspect all records filed in     P.O. Box 1487                                               Contact phone 706−823−6000
     this case at this office or online at    Augusta, GA 30903
      www.pacer.gov.                                                                                      Date: 9/7/18

                                                                                                                  For more information, see page 2




Official Form 309I                                     Notice of Chapter 13 Bankruptcy Case                                               page 1
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Debtor Alison Ward                                                                                                                  Case number 18−11266−SDB

7. Meeting of creditors                                                                                            Location:
   Debtors must attend the meeting to     October 2, 2018 at 10:30 AM                                              Federal Justice Center − Plaza Bldg, 600
   be questioned under oath. In a joint                                                                            James Brown Blvd − 341 Mtg Rm,
   case, both spouses must attend.                                                                                 Augusta, GA 30901
   Creditors may attend, but are not      The meeting may be continued or adjourned to a later date. If
   required to do so.                     so, the date will be on the court docket.
                                                          *** Valid photo identification required ***

8. Deadlines                               Deadline to file a complaint to challenge                                Filing deadline: 12/3/18
   The bankruptcy clerk's office must      dischargeability of certain debts:
   receive these documents and any
   required filing fee by the following    You must file:
   deadlines.                              • a motion if you assert that the debtors are not entitled to receive a discharge
                                             under U.S.C. § 1328(f), or

                                           • a complaint if you want to have a particular debt excepted from discharge
                                             under 11 U.S.C. § 523(a)(2) or (4).
                                           Deadline for all creditors to file a proof of claim                      Filing deadline: 11/13/18
                                           (except governmental units):
                                           Deadline for governmental units to file a proof of                       Filing deadline: 3/4/19
                                           claim:


                                           Deadlines for filing proof of claim:
                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                            www.uscourts.gov or any bankruptcy clerk's office.
                                           If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file a
                                           proof of claim even if your claim is listed in the schedules that the debtor filed.
                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                           claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain. For
                                           example, a secured creditor who files a proof of claim may surrender important nonmonetary rights, including the
                                           right to a jury trial.


                                           Deadline to object to exemptions:                                         Filing deadline:    30 days after the
                                           The law permits debtors to keep certain property as exempt. If you                            conclusion of the
                                           believe that the law does not authorize an exemption claimed, you                             meeting of creditors
                                           may file an objection.

9. Filing of plan                         A copy of the plan will be sent to you in a separate mailing. The hearing on confirmation will
                                          be held on:11/7/18, at 10:30 AM, Location: Federal Justice Center, Plaza Bldg, 600 James
                                          Brown Blvd (9th St), Augusta, GA 30901
10. Creditors with a foreign               If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have any
                                           questions about your rights in this case.
11. Filing a chapter 13                    Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                        according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                           plan and appear at the confirmation hearing. A copy of the plan, if not enclosed, will be sent to you later, and if
                                           the confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation hearing. The
                                           debtor will remain in possession of the property and may continue to operate the business, if any, unless the
                                           court orders otherwise.
12. Exempt property                        The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and distributed
                                           to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as exempt.
                                           You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that the law
                                           does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                     Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                           However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                           are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                           as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                           523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline. If
                                           you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                           must file a motion by the deadline.




Official Form 309I                                    Notice of Chapter 13 Bankruptcy Case                                                    page 2
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Debtor: Alison Ward                                                                            Case Number: 18−11266−SDB

                                ADDITIONAL COURT SPECIFIC INFORMATION.


ID Required at        Debtor's photo ID and Social Security Card must be presented at the Meeting of
Meeting of            Creditors.
Creditors


11 USC 521(i)         45 days after the filing of the petition
Automatic
Dismissal
Deadline


Objections to         Objections to Confirmation including Objections to Debtor(s) Motions to Avoid a Lien or
Confirmation          Motions to Value Collateral, must be filed with the Clerk not later than seven (7) days
                      before the hearing to consider confirmation of a plan, unless the Court orders otherwise.
                      Objections shall be timely served on the Trustee, debtor, and debtor's counsel. At
                      confirmation, parties with standing to appear and be heard will be limited to debtors, the
                      Trustee, creditors who timely filed and served an objection, and counsel for any of the
                      above. Objections shall state succinctly, but with particularity, the statutory or case law
                      basis for the objection.


Dismissal or          At the confirmation hearing, the Court will determine whether the debtor's plan can be
Conversion at         confirmed. If confirmation is denied, the Court may, after considering the facts and
Confirmation          circumstances of the case at the confirmation hearing, on its own motion or on motion of
Hearing               any party in interest, dismiss the case, dismiss the case with prejudice, or order that the
                      case be converted to Chapter 7. For cause, the Court may grant such motion at the
                      confirmation hearing without further notice.


Filing a Proof of Creditors are now able to file Proof of Claim forms for all chapters electronically. A
Claim             CM/ECF login/password is not required. Visit the Court's website,
                  www.gasb.uscourts.gov to find the ELECTRONIC CLAIMS link and filing instructions.


Multi−Court           An automated response for further information on this case is available 24 hours daily by
Voice Case            calling the Multi−Court Voice Case Information System (McVCIS) toll free number
Information           1−866−222−8029, selecting your language, and pressing 42, and then 1, to access the
System                United States Bankruptcy Court for the Southern District of Georgia. Please have the
(McVCIS)              case number, social security number, or debtor name available when calling. In addition,
                      you may also contact the Clerk's Office directly. Please note that McVCIS is NOT the
                      official court record. The official court record continues to be maintained only by the
                      Clerk's Office.


Other
information


                                                                                  For The Court:
                                                                            Lucinda Rauback, CLERK
                                                                            United States Bankruptcy Court
                                                                            Federal Justice Center
                                                                            600 James Brown Blvd
                                                                            P.O. Box 1487
                                                                            Augusta, GA 30903

Dated: 9/7/18
                                                                                                                 Page 3
